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                                No. 25-1265


      In the United States Court of Appeals for the Tenth Circuit


D.B.U., and R.M.M., on their own behalf and on behalf of others
similarly situated,
                                                       Petitioners–Appellees,

                                     v.

DONALD J. TRUMP, in his official capacity as President of the United
States; PAMELA BONDI, Attorney General of the United States, in her
official capacity; KRISTI NOEM, Secretary of the U.S. Department of
Homeland Security, in her official capacity; U.S. DEPARTMENT OF
HOMELAND SECURITY; TODD LYONS, Acting Director of U.S.
Immigration and Customs Enforcement, in his official capacity; U.S.
IMMIGRATION AND CUSTOMS ENFORCEMENT; MARCO
RUBIO, Secretary of State, in his official capacity; U.S. STATE
DEPARTMENT; ROBERT GUADIAN, in his official capacity as
Director of the Denver Field Office, U.S. Immigration and Customs
Enforcement; and DAWN CEJA, in her official capacity as Warden,
Denver Contract Detention Facility,
                                                   Respondents–Appellants.


    On Appeal from a Judgment of the United States District Court
                     for the District of Colorado


 RESPONDENTS’ MOTION TO HOLD APPEAL IN ABEYANCE
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                              Introduction1

     The bulk of the issues in this case are duplicative of issues raised

in expedited proceedings currently pending before the Fifth Circuit in

W.M.M. v. Trump, No. 25-10534 (5th Cir.). To promote the efficient

disposition of proceedings, this Court should exercise its inherent docket-

management power to hold this appeal in abeyance pending the outcome

of W.M.M.

                               Background

     In March, the President issued a Proclamation invoking the Alien

Enemies Act (“AEA”), 50 U.S.C. § 21, to detain and remove Venezuelan

nationals who are members of the designated foreign terrorist

organization Tren de Aragua (“TdA”). Proclamation No. 10,903,

Invocation of the Alien Enemies Act Regarding the Invasion of the United

States by Tren de Aragua, 90 Fed. Reg. 13,033, 13,034 (Mar. 20, 2025)

(the “Proclamation”). On April 12, the two named Petitioners,

representing a putative class, sought immediate injunctive and habeas

relief against their removal under the AEA. See ECF Nos. 1, 2, 4.




1 Per 10th Cir. R. 27.1, Respondents’ counsel has informed Petitioners’

counsel about this motion. Petitioners are unopposed.


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Petitioners defined their putative class essentially as aliens in custody in

the District of Colorado who “were, are, or will be subject” to the

Proclamation. See ECF No. 4. After granting provisional relief pending

resolution of the case, the district court ultimately certified a class and

granted permanent injunctive relief to Petitioners and the class. ECF

Nos. 51-52; see also ECF No. 52 (“Respondents are enjoined from

detaining, transferring, or removing Petitioners and members of the

certified class” under the AEA and Proclamation.).

     In a separate case, petitioners in the United States District Court

for the Northern District of Texas challenged their detention and

impending removal under the AEA in a putative class action. A.A.R.P. v.

Trump, 145 S. Ct. 1364, 1366 (2025). Those petitioners moved for a

temporary restraining order, but before that motion was fully briefed,

they filed a notice of appeal with the Fifth Circuit and an emergency

application in the Supreme Court. See id. The Fifth Circuit denied those

petitioners’ appeal as premature. Id. at 1367. The Supreme Court later

vacated the Fifth Circuit’s judgment and remanded the case for the court

to “address (1) all the normal preliminary injunction factors, including

likelihood of success on the merits, as to the named plaintiffs’ underlying



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habeas claims that the AEA does not authorize their removal . . . and (2)

the issue of what notice is due, as to the putative class’s due process

claims against summary removal.” Id. at 1368, 1370. The Fifth Circuit

has expedited proceedings for the remanded case: it is now fully briefed

and argued. See Docket Nos. 33–34, 174, 180, 182-83 in W.M.M. v.

Trump, No. 25-10534 (5th Cir.).

                                 Argument

      Holding this appeal in abeyance pending the Supreme Court’s

decision on certiorari in W.M.M. would promote “economy of time and

effort for [this Court], for counsel, and for litigants.” Doe v. Jones, 762

F.3d 1174, 1178 (10th Cir. 2014) (quoting Landis v. N. Am. Co., 299 U.S.

248, 254 (1936)). The Supreme Court enjoined the Government “from

removing the named plaintiffs or putative class members in this action

under the AEA pending order by the Fifth Circuit and disposition of the

petition for a writ of certiorari, if such writ is timely sought.” A. A. R. P,

145 S. Ct. at 1370. So the Supreme Court will take some action in

W.M.M. and has signaled that it sees W.M.M. as a valuable vehicle for

resolving the legal disputes surrounding the AEA. See id. at 1370–71

(Kavanaugh, J., concurring) (calling for the Court to resolve the legal



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questions). Because the issues on appeal in this case are nearly identical

to the ones in W.M.M., which has been scheduled for expedited

disposition, requiring briefing in the usual course in this case would lead

to an unnecessary duplication of effort. The issues on appeal in W.M.M.

include:

  (1)      To what extent courts may review whether the Proclamation

           complies with the AEA. See Opening Br., Docket No. 55, at 20–

           22 in W.M.M., No. 25-10534 (5th Cir. May 30, 2025) (“W.M.M.

           Opening Br.”); Answering Br., Docket No. 129, at 22–27 in

           W.M.M., No. 25-10534 (5th Cir. June 10, 2024) (“W.M.M.

           Answering Br.”);

  (2)      Whether the Proclamation complies with the AEA. See W.M.M.

           Opening Br. 23–38; W.M.M. Answering Br. 27–48;

  (3)      What due process requires for designations under the

           Proclamation. See W.M.M. Opening Br. 38–47; W.M.M.

           Answering Br. 49–61; and

  (4)      To what extent the Immigration and Nationality Act and the

           Convention Against Torture apply to the President’s removal

           authority under Title 50 and to what extent aliens designated



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        under the AEA must be afforded a voluntary-departure period.

        See W.M.M. Opening Br. 47–54; W.M.M. Answering Br. 61–64.

Most of the issues that might arise in this appeal are covered by the

above. See Order, ECF No. 52, at 4–13 (justiciability of and jurisdiction

to review the Proclamation’s validity under AEA); id. at 13–19 (whether

the Proclamation comports with the AEA); id. at 19–21 (notice

requirements); see also Order, ECF No. 35 (order granting Petitioners’

emergency motion for a temporary restraining order).

     Although this appeal would also encompass the certifiability of the

putative class below, see Order, ECF No. 51, because the resolution of the

merits questions could moot the certification question, it would be more

efficient to permit W.M.M. to proceed on an expedited basis before

engaging the certification question. And because the district court has

enjoined removals from the District of Colorado under the AEA and

Proclamation, Petitioners in this case will not be prejudiced by a

temporary abeyance. And with that in mind, Respondent proposes that

either party be able to lift the abeyance if circumstances change.




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                                Conclusion

     This Court should hold this appeal in abeyance pending the

disposition of W.M.M.

                              Respectfully submitted,

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Dated: July 15, 2025          s/Spencer S. Shucard
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